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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                        Plaintiff,
11                                                          No. CR06-0041RSL
                   vs.
12
      RICHARD ALLEN FABEL,                                  ORDER TO SEAL
13
                          Defendant.
14
            This matter comes before the Court on “Defendant Fabel’s Motion to Seal.” (Dkt. #238).
15
     Defendant seeks to seal his Ex Parte Motion for Issuance of Subpoena Duces Tecum and
16
     Declaration of Counsel in Support of Motion for Issuance of Subpoena Duces Tecum because
17
     these documents contain defense work product.
18
            Having considered the motion, IT IS HEREBY ORDERED that defendant Fabel’s Ex
19
     Parte Motion for Issuance of Subpoena Duces Tecum and Declaration of Counsel in Support of
20
     Motion for Issuance of Subpoena Duces Tecum shall be filed under seal and allowed to remain
21
     under seal.
22
            DATED this 31st day of October, 2006
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                                             Robert S. Lasnik
26                                           United States District Judge
27

28   ORDER -1
